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FLNB Local Form 5

Exhibit Tag/ Cover Sheet

Party submitting: Piaintiff Ex. # + 65

Admitted: Yes or Ne (circle one)

Debtor: Julian Rodney Rooks Jr.

 

Case Ne.: 21-40139-KKS

 

 

 

Ady. No.:

Nature of Hearing/

Docket No:

Dated 07/22 , 2021.

 

By: , Deputy Clerk
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To: United States Department of Education
Office of Management
Office of the Chief Privacy Officer
Public Liason Date February 1, 2018

Re: multiple factual errors and possible ommision in your first response

NOTICE GF ERRORS IN YOUR FIRST RESPONSE
TO PETITIONER’S FOIA/PRIVACY ACT REQUEST AND
REQUEST FOR CORRECTION OF DOE RECORDS

Dear Sir or Madam:

The DOE signed for my FOLA/Privacy Act request on 12-05-2017 (57 days ago). nae =
i received no response. Tee

i contacted you yesterday to inquire about the status of my FOLA/Privacy Act request.
Kim told me there was “no entry in the system” for my name and asked me to re-send the request.

This morning, | read the first response letter you sent yesterday. Your letter contains muitiple
errors and possibly 4 serious omission. | am writing this letter to ask the DOE to correct it’s records

and to set the record straight.
ERROR #(1) Your letter incorrectly states:
| Dear: Tutian Rocks

 

 

 

    
 

 

   

CS He

O17, requ

 

This is in response to your letter dated November 5, 2
This is not correct. My you was not dated
November 5, 2617, Ht was dated November 22, 2017:

United States Department of Education
Freedom of Information Unit Date: November 22, 2017

 

Re: Freedom of Information Act Request

Dear Sir or Madam:

Pursuant to the Freedom of Information Act , 5 U.S.C. § 552 and the Privacy Act,
3322, i request of copy of :

ERROR #(2) Your letter incorrectly states:

Privacy Act of 1974, 5 U.S.C. § 552a as amended. Your request was received in this office on

January 31, 2018, and forwarded to the primary responsible office(s) for action.

This is not correct. My request was received in your office and signed for by “K Jones”

on December 5, 2017, not January 31, 2018.

ys ~ The request you received on January 31, 2018 was a copy

of the original request, dated
November 22, 2017 7, mailed on

 

 

 

 

 

 

    

  
 
  

 

 

 

 

November 24, 2017 and signed
for by your office on
December 5, 2017.
What happened to th 3
ra
I noticed your letter does not mention any FOIA request, on! | HASRENGED

 

Is this normal? Cetlified Mat Pas

 

 

 

 

 

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